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                    UNITED STATES COURT OF APPEALS                         FILED
                           FOR THE NINTH CIRCUIT                            APR 4 2025
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
STRONG COMMUNITIES                               No. 24-6301
FOUNDATION OF ARIZONA,
                                                 D.C. No.
INC. and YVONNE CAHILL,                          2:24-cv-02030-KML
                                                 District of Arizona,
             Plaintiffs - Appellants,            Phoenix
 v.                                              ORDER

JUSTIN HEAP, in his official capacity as
Maricopa County Recorder; et al.,

             Defendants - Appellees.

Before: CALLAHAN, DESAI, and DE ALBA, Circuit Judges.

      The stipulated motion to voluntarily dismiss the appeal, Dkt. 48, is

GRANTED. Fed. R. App. P. 42(b). The oral argument scheduled for April 7, 2025

is vacated, and the parties shall bear their own fees and costs on appeal. This order

constitutes the mandate of this court.
